  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)                   Order Filed on October 8, 2021
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP                            by Clerk
  Edmond M. George, Esquire                                         U.S. Bankruptcy Court
                                                                    District of New Jersey
  Michael D. Vagnoni, Esquire (pro hac vice)
  Turner Falk, Esquire
  1120 Route 73, Suite 420
  Mount Laurel, NJ 08054-5108
  Telephone: (856) 795-3300
  Facsimile: (856) 482-0504
  E-mail: edmond.george@obermayer.com
           michael.vagnoni@obermayer.com
           turner.falk@obermayer.com

  Counsel to the Debtor
  and Debtor in Possession

  In re:                                                      Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                    Case No. 21-16520 (JNP)

                                Debtor.



  ORDER GRANTING DEBTOR’S EXPEDITED MOTION FOR APPROVAL OF BID
  PROTECTIONS PURSUANT TO AN ASSET PURCHASE AGREEMENT FOR THE
           SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S
                 ASSETS, AND FOR RELATED RELIEF

        The relief set forth on the following pages, numbered two (2) through three (3) is hereby

ORDERED.

 DATED: October 8, 2021




OMC\4848-4933-2477.v2-10/7/21
Page -2-
Debtor:                      Aluminum Shapes, L.L.C.
Case No:                     21-16520-JNP
Caption of Order:            Order Granting Debtor’s Expedited Motion for Approval of Bid
                             Protections Pursuant to an Asset Purchase Agreement for the Sale of
                             Substantially All of the Debtor’s Assets, and for Related Relief


           AND NOW, upon consideration of the Motion of Aluminum Shapes, L.L.C. (the

“Debtor”) made pursuant to sections 105, 363, 365, and 503 of title 11 of the United States Code

(the “Bankruptcy Code”), Rules 2002, 6004, 6006, 9007, and 9008 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 6004-1 and 6004-2 of the Local

Bankruptcy Rules for the District of New Jersey (the “Local Bankruptcy Rules”), for an Order:

(i) authorizing and approving the payment of a “break up fee” and expense reimbursement (the

“Bid Protections”) to the selected Stalking Horse Bidder, CGPN, LLC (the “Purchaser”)

pursuant to an Asset Purchase Agreement entered into on September 30, 2021, (the “APA”)

between the Debtor and Purchaser: and (ii) granting related relief (the “Motion”)1; and it appearing

that due notice of the Motion, the APA, and the Sale have been provided; and it appearing that the

relief requested in the Motion is in the best interests of the Debtor, its estate, stakeholders, and all

other parties in interest; and it appearing that the Court has jurisdiction over this matter; and it

appearing that the legal and factual bases set forth in the Motion and attached Exhibits establish

just cause for the relief granted herein; and the Court having found that the Purchaser would not

bid in the absence of the Bid Protections, and in particular, the Break Up Fee; and the Court having

found the Break Up Fee of two percent (2%) is reasonable under the circumstances; and for the

reasons set forth on the record by the Court at the hearing held on October 7, 2021; and after due

deliberation, and good cause shown:

           IT IS on this ___ day of ___________, 2021, ORDERED and DECREED as follows:




1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.


OMC\4848-4933-2477.v2-10/7/21
Page -3-
Debtor:                  Aluminum Shapes, L.L.C.
Case No:                 21-16520-JNP
Caption of Order:        Order Granting Debtor’s Expedited Motion for Approval of Bid
                         Protections Pursuant to an Asset Purchase Agreement for the Sale of
                         Substantially All of the Debtor’s Assets, and for Related Relief


        1.      The Motion is GRANTED to the extent set forth herein.

        2.      The Bid Protections are authorized and approved as set forth in paragraph 3 below.

        3.      The Debtor is authorized and approved to pay to the Purchaser the Break Up Fee,

two percent (2%) of the total Purchase Price (as defined in the APA); and the Debtor may

reimburse the reasonable and documented out-of-pocket fees and expenses of the Purchaser up to

$75,000, upon written documentation filed with the Court supporting the requested Expense

Reimbursement (including any attorney’s fees), which shall be subject to Court approval, pursuant to

the Bid Procedures Order and the APA.

        4.      The Debtor shall serve a copy of the Motion (if not already served) and this Order

upon: (i) the Office of the United States Trustee for Region 3; (ii) Tiger Finance, LLC; (iii) counsel

to the Committee; (iv) the Internal Revenue Service; and (v) all parties entitled to notice pursuant

to Local Bankruptcy Rule 9013-1(b), by first-class mail, postage prepaid, no later than five (5)

business days after the entry of Order.

        5.      The Court shall retain jurisdiction over this Order and any disputes relating hereto

or arising herefrom.

        6.      Notwithstanding Bankruptcy Rule 6003, this Order shall be effective and

enforceable immediately upon entry; the Court expressly finds that there is no reason for delay in

the implementation of this Order.




OMC\4848-4933-2477.v2-10/7/21
